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: X : New York Property
(Kw Allstat 1125 RXR PLAZA
. : : Mea UNTONDALE NY 11556

Youte in: good hands.

UN Myson HLH
LAURENCE V RUTKOVSKY SHARON’ 1. FELDMAN
16 GLEN PK RD

PURCHASE NY. 1057731904

May 16, 2018

INSURED: LAURENCE RUTKOVSKY PHONE: NUMBER: 866-322-4754
DATE OF LOSS: May-21,2016 PAX NUMBER: 866-655-7605
CLAIM NUMBER: 0414356832 OFFICE HOURS:

Dear LAURENCE. V RUTKOVSKY and SHARON L FELDMAN,

‘Allstate already has paid, at-aiactyal cash value basis, your claim under.the above-referenced Allstate Homeowner's Policy
(the““Poli¢y") rélated:to the fire damvage to your hoine located at 16 Glenn Park Road in: Purchase, New York. ‘On May 8,
2018,.you (Mr. Rutkovsky. and Ms, Feldman) presented:a further claim for an.additional paymention:a replacement-cost
basis, You.assert thatsyour purchase of a condoniinimylocated:at 225 Stanley Avenue, Unit 222, Mamaroneck, New York,
which you-inteiid to make yout primary residence (at least ternporatily); would’ coristitite-a replaceinent of your fire-daniaged
16 Glenn Park Road hoime'and entitle you to:a replacement cost coverage paynient under ihe Poliey.

After giving this: matter consideration, Allstatcregrets:(oinform-you'that it denies your ¢laim:for a-replacement cost: coverage:
payment because the proposed condominiunt purchase would-not constitute boa fide replacement-of the 16 Glenn-Park
Road hoiie based on theinformation made available tous. ‘The. facts: You presented is with:on May 8th, 2018 are no
different from: thosé on which we previously velied’in supportof our coverage position asserted on April 16, 2018, other than
you have:now actually purchased the condominium,

As-we advised you on April 16, the Policy provides. in pertinent part as follows:

Section Conditions

5. How: We Pay-ForA Loss

Under Coverage:A—D welling Protection, Coverage. B—: Other Structures:Protection and Coverage C—Persaial Property
Protection, payinent for covered Josswill-be by one or more of the following tiethads:

b) Actual CasltValue

If -you donot repair orreplace the damaged, destroyed or:stolen property, payment will be onan actual:cash value basis: This
mieansthere nay bea deduction for depreciation. Payment will not exceed the:limit of liability shows on the Policy
‘Declarations tor the coverage that applics to the damaged, destroyed'or'stolen property, regardless'of the number of items
‘involved in the loss:

Youmay inake claim for-additional payment as.described-in.paragraphi-c, aud parageiph 4. if applicable, if you repair or
replace the damaged, destroyed or stolen covered property within 180 days of the actual: cash value payment.

% * *

we will make additional! paynieitto reinburse, you-for-cost in-excess. of actual cash value‘if you repair, rebuild or
‘replace damaged, destroyed or stolen:covered property within 180:days of the-actual cash-valne payment: This additional
paymentincludes the reasonable and necessary expense: for (reatinent-or. removal anc disposal of-contaminaiits, toxins.or
‘pollutants as required to complete repair or replacement of that part of & building: ‘structure damaged by a’covered loss.
Building Structure Reimbursement will not exceed the smallest of the following amounts:
1} the: replacement cost of the:patl(s). of the building-structure(s) for like.kind:and.quatity.constniction, for similar tise,
‘on.the same premises;

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2) the-amount actually and necessarily-spent.to repair or replace the damaged building structute(s) with like kind and
quality:construction, for-similaruse, onthe same: premises: or
3) the limit.of liability applicable to the: building structure:as shown on the Policy Declarations for Coverage A—

Dwelling Protection or Coverage B—Other Structures. Protection... . .

* % *

If you replace the damaged building structure(s) at an-address other than shown on the Policy Declarations through
Coiistruction of-a new structure or purchase of an-existing structure, such replacement will noCincrease:the amount payable
under Building Structure Reimbursement described above, The amount payable under Building Structure Reimbursement
described: above. does not include-the. value of any land associated with the:replacement structure(s). Building Structure
Reimbursement payment will be limited to the difference between any-actual cash value-payment made for the:covered loss
to’buitding structures and the:smallest of 1), 2) or 3) above,

*. * %

Policy-Enidorsement

The following eidorsenient changes your:policy. Please read this-document carefully and keep:it with your policy.

New York
Amondatory Endorsement AP4729

This endorsement amends your Deluxe Homeowners Policy:and is in addition:to-alFother amendatory endorsements which
apply to this policy.

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Nv; Iv Section:1—Conditions, under item’5, How We Pay For-A Loss, the. following:changes are made:

1) Subsitem b)-Actual Cash Value is replaced by. the following: ,

b) Actual Cash Value ,

If you.do not repair or-replace the damaged, destroyed or stolen property,.payment will-be-on.an actual cash value basis. This
mieatis there: may be a'dedtction:tor depreciation, Payment-will not exceed the limit of liability shown.om the Policy
Declarations for the coverage that applies:to-the damaged, désitoyed or stolen property, regardless of the number of items
involved int the: loss. ,

‘You may make claini for additional payment as described in paragraph:c, and paragraph. dif applicable; if yourepairor:
replace the damaged, destroyed or'stolen covered property-within two years: atter-the-date of the loss, ,

2) Under sub-item ¢) Building Structure Reinibursement. the first paragraph is replaced by the following:

c) Buildiig Structiire Reimburseinent.

Under Coverage A——Dwelling Protection and- Coverage B—Other Structures Protection, we.will make. additional payment to.
reimburse you:for cost inexcess of actual cash value if you repair, rebuild or replace damaged, destroyed or stolen-covered
property within two years.after the date of the loss: This. additional payment includes theteasonable aiid necessary expense
for-treatent or removal and disposal-of contaminants, toxins or pollutants as.required:to.complete repair or:replacement of
‘that part of'a building stricture damaged by a covered loss. This. additional payment:shall-not include any amounts which
way be paid or payable-under Section 1,.Conditions~—Mold, Fungus, Wet Rotand Dry Rot Remediationas a Direct Result of
a Covered Loss, and shall: not be payable:for any losses excluded in Section 1—Your Property, under Losses We.Do Not
Cover Uider CoveragesA-aiid B, iter 24, tinless-nold; fungus, wel rot, dry: rot orbacteria:ensues trom-a.covered fire or
lightniing loss.

¥ ¥

As provided in the Policy, you may:make a claint for additional. paymentif yowactually repairor replace'the damaged
property within (wo years’after the date of loss, which requirement Allstate intends to en force and dées ot waive. Allstate
would accept'a building permit and 4 signed construction contract as proof of replacement within the Wwo year time period
from the date-of the loss;

‘For replacement valuation.to apply“under the Policy, the:replacement-building needs to.be a bona fide replacement of the 16
Glenn Park: Road: homewith.consideration given to the.ordinary and: gencrally-accepted.meaning of “replace.” In other
svords,.the replacement building should take the place of'aid serve the'same:fiinction-as the original:

Based on Guedivestigation into this clain and the information you-have presented to-us, the proposed condominium purchase
‘would viot 'serve'as-a true replacement of the 16 Glenn Park Road-home.

Allstate expressly:continues to.reserve alf-of its rights, privileges, and defenses. under the Policy and at law, regardless of
whether specifically set forth herein.

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We caution you that any-coverage decision 48 based:on documents and information:that have been provided. to us for our
review. We urge you to. submit any additional documentation or information thatis relevant to issues set forth above should
additional information become-available. We strongly suggest you review this matter withan attorney; at your expense, and
have your atlorney take the necessary actions to protect your interests in this matter.

Should you wish to:take this matter up with the New York State Department of Financial Services, you may-file vith the
department:either on its website at hitp//www.dfs.ny.gov/consumer/ filecomplaint.htm.or. you, may write'to or visit the
Consumer Assistant Unit, Financial Frauds. and Consumer Protection Division, New York State Department of Financial
Services, al 1 State Street, New-York, NY 10004; | Conimerce Plaza, Albany, New York 12257; 163B Mineola Blyd,
Mineola, NY [1501;or Walter J- Mahoney office building, 65 Court Street, Buffalo, NY 14202.

New York Regulation

New York Insurance Regulations require us to advise you that in the event you wish to contest this denial.in litigation, your
insurance Policy. requires that any suit or action must be brought within vo. years of the inception of the date of loss or
damage.

We're Here to Help You

| hope:you-understand. the basis of this decision, Please call us atthe munber below and referto our claim number if you
wish to- discuss any aspect of this case; including this letter.

Certified Mail Retum Receipt Requested

ce: Erie Kreuter:(via email)

Sincerely,

DANIEL CIPOLLONE

DANIEL CIPOLLONE
866-322-4754. Ext. 1748547
Allstate Insurance Company

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